                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF TENNESSEE


UNITED STATES OF AMERICA                            )
                                                    )
v.                                                  )      Case No. 3:21-mj-2786
                                                    )
AUSTIN KIDD                                         )



                                           ORDER

       Pursuant to Rule 5(f) of the Federal Rules of Criminal Procedure, as amended by the Due

Process Protections Act of 2020, the Court reminds the government of its obligation under Brady

v. Maryland, 373 U.S. 83 (1963) and its progeny, to disclose evidence favorable to the defendant

and material to the defendant’s guilt or punishment. The government is ordered to produce such

evidence reasonably promptly upon discovery, as required by Local Rule 16.01(a)(3). Failure to

do so in a timely manner may result in consequences, including, but not limited to, dismissal of

the indictment or information, exclusion of government evidence or witnesses, adverse jury

instructions, dismissal of charges, contempt proceedings, sanctions by the Court, or any other

remedy that is just under the circumstances.

       It is SO ORDERED.



                                     ____________________________________________
                                     BARBARA D. HOLMES
                                     United States Magistrate Judge




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